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   9                           UNITED STATES DISTRICT COURT
  10            CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  11
  12 BESTLAND, INC.                                  Case No. 2:21-cv-01750-SVW-JC
  13                  Plaintiff,                     The Hon. Stephen V. Wilson
  14            v.                                   JUDGMENT
  15 COLONY INSURANCE COMPANY,
       et al.                                        Courtroom:     10A
  16
                      Defendant.
  17
  18
  19            On July 22, 2021, the Court granted Defendant Colony Insurance Company’s
  20 Motion for Summary Judgment [Dkt. 19].
  21            Therefore, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:
  22            1.    Judgment be entered in favor of defendant Colony Insurance Company and
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  28     ///

                                                  -1-                Case No. 2:21-cv-01750-SVW-JC
                                                                                        JUDGMENT
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   1
   2   against Plaintiff Bestland, Inc.
   3          2.     Plaintiff Bestland, Inc. take nothing by way of this action against defendant
   4   Colony Insurance Company.
   5          3.     Defendant Colony Insurance Company is entitled to its reasonable costs of
   6   suit pursuant to Federal Rule of Civil Procedure 54 and an approved application to tax
   7   costs signed by the Court pursuant to Local Rule 54.
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  10 Dated: __________________,
                 October 27     2021                    HON. STEPHEN V. WILSON
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                                                  -2-                  Case No. 2:21-cv-01750-SVW-JC
                                                                                          JUDGMENT
